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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


    JANE DOE et al.,

         Plaintiffs,                                Civil No. 4:23-cv-00114-RH-MAF

         v.

    JOSEPH A. LADAPO et al.,

         Defendants.


              PLAINTIFFS’ NOTICE OF FILING TRIAL EXHIBITS

        Pursuant to the Court’s October 31, 2023 Order Confirming the Deadline to

File Exhibits and the Pretrial Stipulation (Dkt. 174), Plaintiffs hereby submit this

Notice of Filing Trial Exhibits 1, with copies of each exhibit Plaintiffs expect to or

may offer at trial listed on the Exhibit List below and appended hereto.2 Plaintiffs

reserve the right to use additional documents for purposes of impeachment, and to

offer any exhibit identified by Defendants.




1
 Due to the extensive number of documents, Plaintiffs are filing multiple, identical copies of this
Notice on the case docket, each attaching a separate set of the below listed exhibits.
2
 Sealed versions of Plaintiffs’ medical records (Doe Pls’ Trial Exs. 80-86) have been filed at
Dkt. 147.
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                            Plaintiffs’ Exhibit List

                                                                        Stipulated/
 Trial Ex.                                                Will   May
               Bates No.       Exhibit Description                      Defendants’
   No.                                                    Use    Use
                                                                        Objections
                           Any exhibit that was                  X
Dekker
                           entered into evidence in the
Exhibits
                           Dekker trial
                           Defendants’ Response to               X
Doe Pls’      PL000566 -
                           Pls’ First Set of
Trial Ex. 1   000579
                           Interrogatories
                           Expert Report of Dr. Aaron            X     Hearsay
Doe Pls’      PL000580 -
                           Janssen, M.D. (8.16.2023)
Trial Ex. 2   000625
                           Expert Report of Dr.                  X     Hearsay
Doe Pls’      PL000626-
                           Brittany Bruggeman, M.D.
Trial Ex. 3   000683
                           (8.16.2023)
                           Expert Report of Dr. Dan              X     Hearsay
Doe Pls’      PL000684-
                           H. Karasic, M.D.
Trial Ex. 4   000735
                           (8.16.2023)
                           Expert Report of Dr.                  X     Hearsay
Doe Pls’      PL000736
                           Daniel Shumer, M.D.
Trial Ex. 5   – 000816
                           (8.16.2023)
                           Expert Report of Dr. Loren            X     Hearsay
Doe Pls’      PL000817
                           Schechter, M.D.
Trial Ex. 6   – 000886
                           (8.16.2023)
                           Expert Report of Dr.                  X     Hearsay
Doe Pls’      PL000887 -
                           Vernon Langford, DNP,
Trial Ex. 7   000910
                           APRN-CNP, FNP-C
                           (8.16.2023)
                           Expert Report of Dr.                  X     Hearsay
Doe Pls’      PL000911 -
                           Kenneth W. Goodman,
Trial Ex. 8   000929
                           PhD, FACMI, FACE
                           (8.16.2023)
                           Expert Rebuttal Report of             X     Hearsay
Doe Pls’      PL000930 -
                           Dr. Aaron Janssen, M.D.
Trial Ex. 9   000938
                           (9.5.2023)

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                          Expert Rebuttal Report of          X   Hearsay
Doe Pls’     PL000939 -
                          Dr. Dan H. Karasic
Trial Ex. 10 000946
                          (9.5.2023)
                          Florida Admin. Code R.        X
Doe Pls’     PL000947
                          64B8-9.019, Standards of
Trial Ex. 11
                          Practice for the Treatment
                          of Gender Dysphoria in
                          Minors (effective 3.16.
                          2023)
                          Florida Admin. Code R.        X
Doe Pls’     PL000948
                          64B15-14.014, Standards
Trial Ex. 12
                          of Practice for the
                          Treatment of Gender
                          Dysphoria in Minors
                          (effective 3.28.2023)
                          Notice of Change, Fla              X
Doe Pls’     PL000949
                          Admin Code R. 64B15-
Trial Ex. 13
                          14.014 (filed 2.10.2023)
                          Florida Department of         X
Doe Pls’     PL000950
                          Health Guidance,
Trial Ex. 14
                          Treatment of Gender
                          Dysphoria for Children
                          and Adolescents (4.20.22)
                          Surgeon General Ladapo        X
Doe Pls’     PL000951
                          Letter to Florida Boards of
Trial Ex. 15
                          Medicine (6.2.22)
             PL000952 -   Florida Department of         X
Doe Pls’
                          Health Petition to Initiate
Trial Ex. 16 000959
                          Rulemaking Setting the
                          Standard of Care for the
                          Treatment of Gender
                          Dysphoria (7.28.22)
             PL000960 –   Florida Senate Bill 254       X
Doe Pls’
                          (2023)
Trial Ex. 17 000969
             PL000970 -   Florida House Bill 1421       X
Doe Pls’
                          (2023)
Trial Ex. 18 000979



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             PL000980 -   Section 456.001(1)(8) – (9),       X
Doe Pls’
                          Florida Statutes (2023)
Trial Ex. 19 000981
             PL000982 -   Section 456.52, Florida            X
Doe Pls’
                          Statutes (2023)
Trial Ex. 20 000983
             PL000984 -   Rulemaking Record              X
Doe Pls’
Trial Ex. 21 001462       (Produced by Defendants)

             PL001463 - Public Book for 02.10.2023       X
Doe Pls’
Trial Ex. 22 008066     Joint Hearing (Produced by
                        Defendants)
             Med        Transcript of Florida Board      X
Doe Pls’
Trial Ex. 23 Def_001485 of Medicine Meeting
             - 001622;  08.05.2022
             PL012003 –
             PL012012
             Med        Transcript of Florida Boards’    X
Doe Pls’
Trial Ex. 24 Def_001058 Joint Rule Workshop
             – 001349   10.28.2022
             Med        Transcript of Florida Boards’    X
Doe Pls’
Trial Ex. 25 Def_000876 Joint Meeting 11.04.2022
             - 001016
             Med        Transcript of Florida Boards’    X
Doe Pls’
Trial Ex. 26 Def_001017 Joint Public Hearing
             – 001043;  02.10.2023 (*Incomplete at
             PL012013 - present)
             PL012137
             Med        Transcript of Florida House      X
Doe Pls’
Trial Ex. 27 Def_001350 HHS Committee Meeting
             – 001484   02.21.2023
             Med        Excerpt from Speech of               X
Doe Pls’
Trial Ex. 28 Def_002232 Governor Ron DeSantis –
             - 002234   Joint Session 03.07.2023



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             Med        Transcript of Florida Senate         X
Doe Pls’
Trial Ex. 29 Def_000087 Health Policy Committee
             - 000250   Meeting 03.13.2023
             Med        Transcript of Florida House          X
Doe Pls’
Trial Ex. 30 Def_002235 Healthcare Regulation
             - 002335   Subcommittee Meeting
                        03.22.2023
             Med        Transcript of Florida Senate         X
Doe Pls’
Trial Ex. 31 Def_001913 Fiscal Policy Committee
             - 002001   Meeting 03.23.2023
             Med        Transcript of Florida House          X
Doe Pls’
Trial Ex. 32 Def_002336 HHS Committee Meeting
             - 002461   03.27.2023
             Med        Transcript of Florida Senate         X
Doe Pls’
Trial Ex. 33 Def_002462 General Session 04.03.2023
             - 002571
             Med        Transcript of Florida Senate         X
Doe Pls’
Trial Ex. 34 Def_002002 General Session 04.04.2023
             - 002028
             Med        Transcript of Florida House          X
Doe Pls’
Trial Ex. 35 Def_002029 General Session 04.18.2023
             – 002144
             Med        Transcript of Florida House          X
Doe Pls’
Trial Ex. 36 Def_002145 General Session 04.19.2023
             Med          Transcript of Florida Senate       X
Doe Pls’
Trial Ex. 37 Def_002215   General Session 05.04.2023
             - 002231
             Med          Transcript of Florida House        X
Doe Pls’
Trial Ex. 38 Def_002193   General Session 05.04.2023
             - 002214
             Med          Transcript of Florida Boards’      X
Doe Pls’
Trial Ex. 39 Def_001623   Joint Meeting 06.23.2023
             – 001912


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             Med        Transcript of Florida Boards’        X
Doe Pls’
Trial Ex. 40 Def_000251 Joint Public Meeting
             - 000454   06.30.2023
             Med        Transcript of Florida Boards’        X
Doe Pls’
Trial Ex. 41 Def_000001 Joint Meeting 08.03.2023
             - 000086
             FDOH_000 Composite Exhibit - Emails        X
Doe Pls’
Trial Ex. 42 0          between Board of
             44095-     Osteopathic Medicine
             000044100; Executive Director Danielle
             000044010– Terrell and Vernadette
             000044014; Broyles (Oct. 25-28, 2022)
             000042401-
             000043407;
             000044022-
             000044026;
             000044081-
             000044086;
             000042389-
             000042398.
             FDOH_000 Emails from Board of                   X
Doe Pls’
Trial Ex. 43 065015-    Osteopathic Medicine
             000065016 Executive Director Terrell
                        (11.07.22)
             FDOH_000 Gender Dysphoria                       X   Foundation
Doe Pls’
                                                                 Hearsay
Trial Ex. 44 058615-    Roundtable (7.8.22)
             000058616
             FDOH_002 Governor Talking Points                X   Foundation
Doe Pls’
                                                                 Hearsay
Trial Ex. 45 874150-
             002874157
             FDOH_000 Request for Hearing to                 X   Foundation
Doe Pls’
                                                                 Hearsay
Trial Ex. 46 065735-    Board of Medicine
             000065778


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             FDOH_000 Open Letter to the Florida       X         Foundation
Doe Pls’
                                                                 Hearsay
Trial Ex. 47 038015-    Board of Medicine (9.23.22)
             000038019
             EOG_0051 FDOH Updates (4.8.22)                  X   Hearsay, as to
Doe Pls’
                                                                 draft material
Trial Ex. 48 21- 005156
             FDOH_000 Emails between Board of                X   Foundation
Doe Pls’
                                                                 Hearsay
Trial Ex. 49 064667-   Medicine Executive Director
             000064671 Paul Vazquez and Dr.                      Objection as to
                                                                 highlights
                       Laidlaw (10.14.22-10.25.22)
             EOG_0008 Governor Talking Points                X   Foundation
Doe Pls’
                                                                 Hearsay
Trial Ex. 50 49-000864 (5.13.22)
                                                                 Objection as to
                                                                 highlights
             FDOH_000 Emails between Board of                X
Doe Pls’
Trial Ex. 51 039058   Medicine Paul Vazquez and
                      Dr. Patrick Hunter
                      (10.16.22)
             FDOH_001 Emails between Dr. Van Mol             X   Foundation
Doe Pls’
                                                                 Hearsay
Trial Ex. 52 9000113  Dr. Patrick Hunter (9.14.22)
                                                                 Objection as to
                                                                 highlights
             FDOH_000 Email between Vazquez and              X
Doe Pls’
Trial Ex. 53 030412   Hunter (9.14.22)

             FDOH_000    Emails between Vazquez and          X
Doe Pls’
Trial Ex. 54 030376-     Hunter (9.13.22)
             000030377
             FDOH_000    Email between Hunter and            X
Doe Pls’
Trial Ex. 55 030366-     Vazquez (9.12.22)
             30369
             EOG_0005    Gender Affirming Guidance           X
Doe Pls’
Trial Ex. 56 19-000520   Event

             EOG_0006    Governor DeSantis Interview         X
Doe Pls’
Trial Ex. 57 67-000682   Transcript (4.28.22)

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             Def_000286 AHCA Invoice for Dr. Van         X
Doe Pls’
Trial Ex. 58 709        Meter attendance at Board of
                        Medicine Meeting (8.11.22)
             EOG_0081 Memo on Gender Dysphoria           X       Foundation
Doe Pls’
                                                                 Hearsay
Trial Ex. 59 28-008235 Legislation
             EOG_0081     Email from Maureen Furino          X   Hearsay
Doe Pls’
Trial Ex. 60 25-008127    with attachments (1.06.23)

             EOG_0052     Email from Savanah Kelly           X   Foundation
Doe Pls’
                                                                 Hearsay
Trial Ex. 61 82- 005284   Jefferson with attachment
                          (6.29.22)                              Objection as to
                                                                 drafts
             EOG_0051 Alliance Defending Freedom             X   Foundation
Doe Pls’
                                                                 Hearsay
Trial Ex. 62 57 - 005250 Binder
             EOG_         Briefers – Safeguarding Kids       X
Doe Pls’
Trial Ex. 63 004414,      from Gender Surgeries and
             004636-      Drugs
             004640,
             004487-
             004492
             FDOH_000    Email from Board of                 X
Doe Pls’
Trial Ex. 64 035598      Osteopathic Medicine
                         Executive Director Danielle
                         Terrell to Bettye Strickland
                         (10.19.22)
             FDOH_000 Email from Patrick Hunter to           X
Doe Pls’
Trial Ex. 65 040582    – Paul Vazquez (10.23.22)
             000040599
             FDOH_000 Appearance Request Form                X
Doe Pls’
Trial Ex. 66 045008 -    (11.02.22)
             000045010
             FDOH_000 Email from Vazquez to                  X
Doe Pls’
Trial Ex. 67 034212 –    Strickland (9.27.22)
             000034214,

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             Att.
             FDOH_000
             034022 -
             000034111
             FDOH_000     Phillip Penna comment              X
Doe Pls’
Trial Ex. 68 069398 –     (9.19.22)
             000061417
             FDOH_000     Email from Jeremy Redford          X
Doe Pls’
Trial Ex. 69 017897-      (7.10.22)
             000017908
             PL008067 -Public Book for 8.3.23 Joint   X
Doe Pls’
Trial Ex. 70 010525    Meeting (Produced by
                       Defendants)
             FDOH_000 Email from Hunter to                   X
Doe Pls’
Trial Ex. 71 040530 -  Vazquez (10.22.22)
             000040542
             FDOH_000 Email from Vazquez to                  X
Doe Pls’
Trial Ex. 72 039931 –  Strickland (10.18.22)
             000039932
             FDOH_000 September 30, 2022 Rule                X
Doe Pls’
Trial Ex. 73 037928    Workshop Agenda (9.30.22)

             FDOH_000 Original October 28, 2022              X
Doe Pls’
Trial Ex. 74 040020      Workshop Agenda
                         (10.28.22)
             FDOH_000 Email from Vazquez to                  X
Doe Pls’
Trial Ex. 75 035446 –    Diamond (10.14.22)
             000035448
             FDOH_000 Emails from Senate                     X
Doe Pls’
Trial Ex. 76 028162 –    Committee on Health Policy
             000028163; (Composite)
             FDOH_000
             064956; and
             FDOH_000
             065030
                                     -9-
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             FDOH_000     Emails between Dr. Dayton           X
Doe Pls’
Trial Ex. 77 039513 -     and Paul Vazquez (10.18.22)
             000039516
             FDOH_000     Email from Board of                 X   Completeness
Doe Pls’
Trial Ex. 78 035604-      Osteopathic Medicine
             000035604    Danielle Terrell (10.19.22)
             FDOH_000     Email from Paul Vazquez to          X
Doe Pls’
Trial Ex. 79 039521 -     Danielle Terrell (10.18.22)
             000039522
             PL000022-    Plaintiff Susan Doe Medical     X
Doe Pls’
Trial Ex. 80 000048       Records (SEALED)

             PL000001 - Plaintiff Gavin Goe Medical       X
Doe Pls’
Trial Ex. 81 000015     Records (SEALED)

             PL000366-    Plaintiff Lucien Hamel              X
Doe Pls’
Trial Ex. 82 408;         Medical Records (SEALED)
             000509-565
             PL000418 -   Plaintiff Olivia Noel Medical       X
Doe Pls’
Trial Ex. 83 000483       Records (SEALED)

             PL000016 - Plaintiff Lisa Loe Medical            X
Doe Pls’
Trial Ex. 84 000021     Records (SEALED)

             PL000409- Plaintiff Kai Pope Medical             X
Doe Pls’
Trial Ex. 85 417;       Records (SEALED)
             000484-508

             PL000049 - Plaintiff Rebeca Cruz Evia            X
Doe Pls’
Trial Ex. 86 000365     Medical Records (SEALED)

             FDOH_000 Emails between Hunter,                  X
Doe Pls’
Trial Ex. 87 035423 -  Diamond, and Vazquez
             000035428 (10.04.22)




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             FDOH_000    Emails between Hunter and           X
Doe Pls’
Trial Ex. 88 062034 -    Vazquez (9.23.22)
             000062035
             FDOH_000    Emails between Hunter,              X
Doe Pls’
Trial Ex. 89 061277 -    Vazquez and Biggs (9.19.22)
             000061279
             FDOH_000    Email from Hunter to                X
Doe Pls’
Trial Ex. 90 030412      Vazquez (9.14.22)

             PL010526 – Governor Ron DeSantis                X
Doe Pls’
Trial Ex. 91 010528      Appoints Four to the Board
                         of Medicine (6.17.22)
             PL010529- Dr. Hunter article “Political         X   Hearsay
Doe Pls’
Trial Ex. 92 010530      Issues Surrounding Gender-
                         Affirming Care for
                         Transgender Youth” (JAMA
                         Pediatr., December 20, 2021,
                         doi:10.1001/jamapediatrics.2
                         021.5348)
             PL010531- Eknes-Tucker v. Ivey, 2:22-           X   Relevance
Doe Pls’
                                                                 Foundation
Trial Ex. 93 011801      cv-00184, ECF 69-6
                         (5.02.22)                               Hearsay
             PL011802- Catholic Medical                      X   Authentication
Doe Pls’
                                                                 Foundation
Trial Ex. 94 011804      Association Resolutions 8-7
                         through 8-14                            Hearsay
             PL011805 - Catholic Medical                     X   Authentication
Doe Pls’
                                                                 Foundation
Trial Ex. 95 001806      Association 92nd Annual
                         Education Conference                    Hearsay
                         (9.18.23)
             EOG_0081 Email from Furino with texts           X   Foundation
Doe Pls’
                                                                 Hearsay
Trial Ex. 96 25 - 008127 attached (1.06.23)
             PL011807 - AAP Resolution # 27                  X   Authentication
Doe Pls’
                                                                 Foundation
Trial Ex. 97 011811
                                                                 Hearsay

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             PL011812 - WSJ article “Youth Gender            X   Hearsay
Doe Pls’
Trial Ex. 98 011817     Transition Is
                        Pushed Without Evidence”
                        by Hunter, Roman, Kaltiala,
                        Malone, etc. (7.13.23)
             PL011818 - U.S. EO 12866 Meeting                X   Foundation
Doe Pls’
                                                                 Hearsay
Trial Ex. 99 011819     0945-AA17 (4.25.22)

            PL011820 – SEGM “About Us” Page                  X   Foundation
Doe Pls’
            PL011825                                             Hearsay
Trial Ex.
100
            PL011826 - “Challenges in Timing                     Hearsay
Doe Pls’
Trial Ex.   011827     Puberty Suppression for
101                    Gender-Nonconforming
                       Adolescents” (de Vries,
                       7.14.20)
            PL011828 - Governor Ron DeSantis
Doe Pls’
Trial Ex.   011830     Appoints Three to the Board
102                    of Osteopathic Medicine
                       (12.06.22)
            PL011831 - Governor Ron DeSantis
Doe Pls’
Trial Ex.   011833     Appoints Two to the Board
103                    of Medicine (12.28.22)
            PL011834 - NYT Article, Dr. Benson               X   Hearsay
Doe Pls’
Trial Ex.   011857     quoted (11.14.22)
104
            PL011858 - Smalley, et al., Improving            X   Hearsay
Doe Pls’
Trial Ex.   011866     Global Access to
105                    Transgender Health Care,
                       Transgender Health, Vol. 7,
                       No. 2 (2022)
            PL011867 Fla. Admin R. 64B8-30.008               X
Doe Pls’
Trial Ex.
106

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            PL011868     Fla. Admin. R. 64B8-30.012          X
Doe Pls’
Trial Ex.
107
            PL011869 - Fla. Stat. 464.0123                   X
Doe Pls’
Trial Ex.   011871
108
            PL011872 - Fla. Stat. 464.012                    X
Doe Pls’
Trial Ex.   011874
109
            PL011875 - Fla. Stat. 458.347                    X
Doe Pls’
Trial Ex.   011880
110
            PL011881     20 CFR 10.310                       X
Doe Pls’
Trial Ex.
111
            PL011882 - A Letter to Christian                 X   Hearsay
Doe Pls’
Trial Ex.   011888     Physicians_CMDA Today
112
            PL011889 - Composite Exhibit (Jonathan           X   Hearsay
Doe Pls’
Trial Ex.   0011890    Clemens Tweets)
113
            PL011891 - FSU Student Handbook                  X   Hearsay
Doe Pls’
Trial Ex.   011938     2022-2023
114
            PL011939 - Detransitioners in Your               X   Hearsay
Doe Pls’
Trial Ex.   011948     Church Doorway
115
            PL011949 - Composite Exhibit – Tweets            X   Foundation
Doe Pls’
            011973     from Defendants and                       Relevance
Trial Ex.
                       Lawmakers                                 Hearsay
116
            PL01974 - SB 254 Amendment (350064               X
Doe Pls’
Trial Ex.   011975     - Failed)
117


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            PL011976 – SB 254 Amendment (299002              X
Doe Pls’
Trial Ex.   011977     – Failed)
118
            PL011978 -   SB 254 Amendment (212692            X
Doe Pls’
            011979       - Failed)
Trial Ex.
119
            PL011980 - SB 254 Amendment (374289              X
Doe Pls’
Trial Ex.   011981     - Failed)
120
            PL011982 - SB 254 Amendment                      X
Doe Pls’
Trial Ex.   011996     (256341) (and Failed
121                    Amndts to Amndt)
            PL011997 SB 254 Amendment (388571                X
Doe Pls’
Trial Ex.              - Failed)
122
            PL011998 - Dr. Hunter Letter to the              X   Hearsay
Doe Pls’
Trial Ex.   012000     Editor, JACCP, DOI:
123                    10.1002/jac5.1691
                        (6.06.22)
            Def_000177 Email from Jeremy Redfern             X
Doe Pls’
Trial Ex.   905 -      re: Surgeon General Ladapo
124         000177906 Meeting (7.10.22)

            PL012001 - ALEC Legislative                      X   Authentication
Doe Pls’
            012002     Membership List                           Foundation
Trial Ex.
                                                                 Relevance
125
                                                                 Hearsay
            PL012138 – Notice of Emergency Rules      X
Doe Pls’
Trial Ex.   PL012143   64B8ER23-11 and
126                    64B15ER23-12




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Dated: November 6, 2023

LOWENSTEIN SANDLER LLP                 NATIONAL CENTER FOR
                                       LESBIAN RIGHTS
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                         CERTIFICATE OF SERVICE

      I hereby certify that, on November 6, 2023, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system.


                                       By: /s/ Thomas Redburn, Jr.




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